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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


SILAS MARTIN,              )
                           )
     Plaintiff,            )
                           )                CIVIL ACTION NO.
     v.                    )                  3:20cv630-MHT
                           )                       (WO)
MARY B. ROBERSON,          )
(Individually and official )
capacities),               )
                           )
     Defendant.            )

                              OPINION

    Pursuant to 42 U.S.C. § 1983, plaintiff, a state

prisoner,    filed    this    lawsuit      complaining      that       the

defendant Lee County Circuit Clerk denied him access to

the courts by refusing to provide him certain pages of

the victim’s testimony in a trial transcript.                         This

lawsuit is now before the court on the recommendation

of the United States Magistrate Judge that plaintiff’s

pending    motions   be    denied    and    plaintiff’s      case       be

dismissed without prejudice for failure to pay the full

filing and administrative fees upon initiation of the

case.     There are no objections to the recommendation.
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After an independent and de novo review of the record,

the    court      concludes      that     the    magistrate       judge’s

recommendation should be adopted.

      An appropriate judgment will be entered.

      DONE, this the 19th day of October, 2020.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
